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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :      Case No. 21-cr-398-BAH
                                               :
JAMES MCGREW,                                  :
                                               :
                       Defendant.              :


                        GOVERNMENT’S UPDATE TO THE COURT

       The United States of America respectfully provides an update to the Court since the

government filed its sentencing memorandum on September 29, 2022. In the past several months,

the defendant has appeared in three more interviews while at the D.C. House of Corrections.

       Approximately two months ago, in November 2022, the defendant gave an interview to

“Justice in Jeopardy.” See “J6 DC Gulag Marine Corps James McGrew Bart Shively | Justice in

Jeopardy DAY 672 #J6 Political Hostage Crisis,” available at https://rumble.com/v1tes94-justice-

in-jeopardy-day-672-j6-political-hostage-crisis.html (last visited on January 17, 2023). During the

interview, in addition to discussing his time in the Marines and his alleged lack of treatment from

Department of Veteran Affairs, the defendant described recently writing to Lieutenant General

Michael Flynn, who has “very influential in keeping us in the fight.” Id. at 9:22 to 9:49. In addition

to the interview, the website advertised the defendant’s GiveSendGo account under “JAMES

MCGREW, DC GULAG.” See “Help Free James Mcgrew,” available at https://www.givesend

go.com/G26SJ (last visited on January 17, 2023). 1


1
  Although the account appears to be created by and maintained for by the defendant’s mother,
Leslie McGrew, the account is for the defendant, per the account update on August 5, 2022,
“Today we asked for release so James could get correct medical treatment. The request was
denied. James’s has accepted a plea deal from the DOJ and has accepted responsibility for his
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       On December 29, 2022, the defendant gave an interview to “Cowboy Logic.” See “Cowboy

Logic – 12/29/22: James McGrew, USMC (J6er),” available at https://rumble.com/v22ejn0-

cowboy-logic-122922-james-mcgrew-usmc-j6er.html (last visited on January 17, 2023). The

webpage also advertised the defendant’s GiveSendGo account along with the title, “THE DC

GULAG C2B ON THE PHONE WITH J6 POLITICAL PRISONER JAMES McGREW.” During

the interview, the defendant relayed that he has his sentencing in January and is looking at

“between 70 and 90 months for my involvement on January 6.” Id. at 4:22 to 4:45. After the

interviewers called the range “reprehensible” and opined that it “should totally be time served,”

the defendant responded, “yes, sir.” Id.

       On January 5, 2023, the defendant gave another interview to “Cowboy Logic.” See

“Cowboy Logic – 1/05/23: J6 Political Prisoners – 2 Years Later (part 7),” available at

https://rumble.com/v23mz8e-cowboy-logic-010523-j6-political-prisoners-2-years-later-part-

7.html (last visited on January 17, 2023). The webpage also advertised the defendant’s

GiveSendGo account along with the title, “NEVER FORGET J6 ON THE PHONE WITH J6

POLITICAL PRISONER JAMES McGREW.” During the interview, the defendant described

sentencing as, “they hit me with you know, you’re looking at, you know, 12 years versus, you

know, if you take this plea deal, you’re looking at, you know, 6 to 10. So, I mean, there’s really a

lot of fluctuation there, and you’re basically at the mercy of the courts. So that’s where we’re at

with everything that’s going on there.” Id. at 2:13 to 2:38.

        The defendant then went on to complain about the January 6 Committee while



action. This givesendgo was sent up to help with legal fees, commissary and other
responsibilities James has. While incarcerated James has no income. Thank you for your prayers
and support. God Bless.”
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perpetuating conspiracy theories:

        Those types of things don’t even really scratch the surface, yeah, they are starting
        to come out, but this fake committee that we just had, did not even touch the surface
        on any of those, on any of those issues, with, you know with provocateurs in the
        crowd, or the Ray Epps situation. You know, America really needs to dig in and
        find the truth for themselves . . . we still haven’t seen the 14,000 hours of video
        evidence, we want that released to the public so the public can decide for
        [them]selves what the truth is here. You know, we all know what the truth is,
        and it’s up to the public to figure out for themselves, you know, the DOJ and the
        FBI, they have lambasted us in the press, you know, they’ve made a dog and pony
        show out of these January 6 Committee hearings, and all they’ve done, they’ll show
        the evidence and heck, we don’t even have some of the evidence that they showed
        to the public, they didn’t even provide that to us before they showed it, they told us
        we couldn’t have it. I mean, it’s just ridiculous.”

        Id. at 3:03 to 4:16 (emphasis added).

        The defendant went on to complain about the news media, that they “are painting

us in this picture as monsters, and, you know, that’s not what happened on January 6, not

at all.” Id. to 5:01 to 5:16.

                                                      Sincerely,

                                                      MATTHEW GRAVES
                                                      United States Attorney
                                                      By: /s/ Lucy Sun
                                                      Lucy Sun
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                                                      Detailee – Federal Major Crimes
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                                 CERTIFICATE OF SERVICE

       I, Lucy Sun, hereby certify that on this day, January 18, 2023, I caused a copy of the
foregoing document to be served on the defendant’s attorneys via ECF.

                                                By:   /s/ Lucy Sun
                                                      Lucy Sun
